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6
                              UNITED STATES DISTRICT COURT
7                       FOR THE WESTERN DISTRICT OF WASHINGTON,
                                       AT SEATTLE
8
      SAFECO INSURANCE COMPANY OF
9     AMERICA,                                           Cause No. 2:24-cv-001249

10                                  Plaintiff,           COMPLAINT FOR DECLARATORY
                                                         RELIEF
11           vs.

12
      JONATHAN STAENBERG and V.C.
13
                                    Defendants.
14

15
            Plaintiff, Safeco Insurance Company of America (“Safeco”), by and through its counsel,
16
     Soha & Lang, P.S., pleads and alleges as follows:
17
                                    I.       NATURE OF ACTION
18
            In this Declaratory Relief Action, Safeco seeks the following relief:
19
            1.1     A declaration of the rights, duties and liabilities of Safeco under the policy of
20
     insurance it issued to Jon Staenberg in connection with an underlying lawsuit styled: V.C. v.
21
     Jonathan Staenberg; and Does 1 to 25, King County Superior Court Case No. 24-2-09125-4SEA
22
     (“Underlying Lawsuit”).
23

24                                                                               SOHA & L ANG, P.S.
      COMPLAINT FOR DECLARATORY RELIEF– 1                                           ATTORNEYS AT LAW
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1                                             II.    PARTIES

2            2.1      Plaintiff Safeco is a foreign corporation authorized to do business and doing

3    business in the State of Washington. Safeco’s principal place of business is located in the State

4    of Massachusetts.

5            2.2      Defendant Jonathan Staenberg is and was at all times material hereto an individual

6    and residing in King County, Washington.

7            2.3      Defendant V.C. is and was at all times material an individual and residing in the

8    State of California. V.C. is named as a defendant herein solely for the purpose of binding her to

9    any declaratory relief sought by Safeco and issued by the Court.

10                                III.     JURISDICTION AND VENUE

11           3.1      This court has jurisdiction over this claim pursuant to 28 U.S.C. § 1332 as the

12   amount in controversy exceeds $75,000, exclusive of interest and costs, and diversity amongst

13   the parties is complete.

14           3.2      Venue is proper with this Court pursuant to 28 U.S.C. 1391(b)(1) as this claim

15   involves the defendant V.C.’s claims against defendant Jonathan Staenberg in the Underlying

16   Lawsuit brought in King County Washington, and defendant Jonathan Staenberg is a resident of

17   this judicial district.

18                                   IV.    STATEMENT OF FACTS

19   A.      The Underlying Lawsuit

20           4.1      On or about April 24, 2024, defendant V.C. filed the Underlying Lawsuit against

21   defendant Jonathan Staenberg.

22           4.2      V.C. alleges that she was in a monogamous sexual relationship with Defendant

23   Staenberg between January 2021 and September 30, 2023. She alleges that she requested that

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1    Defendant Staenberg be tested for sexually transmitted diseases before having sex with him, and

2    that she relied on Defendant Staenberg’s representations that he had been tested for all STDs and

3    he did not have any before she had sex with him.

4           4.3     V.C. alleges that in September 2022, she became ill, was tested and was told that

5    she had Herpes Simplex Virus (“HSV”). She alleges that she was infected with HSV by

6    Defendant Staenberg. She alleges that Defendant Staenberg’s representations about being tested

7    and not ever having HSV were false, and that Defendant Staenberg had prior sexual partners who

8    had accused him of infecting them with HSV.

9           4.4     V.C.’s first claim for relief alleges Fraud/Intentional Misrepresentation, causing

10   her economic loss and pain and suffering. She alleges that “Exposure to and infection of an

11   incurable disease are extremely reprehensible and an invasion of the most personal and private

12   aspects of plaintiff’s physical and emotional wellbeing.” She seeks punitive damages.

13          4.5     V.C.’s second claim for relief alleges Negligent Misrepresentation. She seeks

14   punitive damages on this claim as well.

15          4.6     V.C.’s third claim for relief alleges Negligent Transmission of a sexually

16   transmitted disease. This claim includes the allegation: “As a direct result of defendant’s breach

17   of his duty to plaintiff, plaintiff has suffered injury, damage, loss and harm to her body and mind,

18   namely being infected with HSV-1, an incurable disease.”

19          4.7     V.C. initially sent a courtesy copy of the complaint in the Underlying Lawsuit to

20   Defendant Staenberg in February 2024. Defendant Staenberg tendered the defense of this claim

21   and as-yet unfiled complaint to Safeco on or about March 5, 2024. By letter dated March 15,

22   2024, Safeco informed Defendant Staenberg that it was investigating coverage subject to a

23   reservation of rights and asked him to immediately report if and when he was served with the

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1    lawsuit. By letter dated April 2, 2024, Safeco again informed Defendant Staenberg that its

2    coverage investigation was continuing. On April 24, 2024, V.C. filed the complaint in the

3    Underlying Lawsuit. Safeco agreed to provide Defendant Staenberg a defense pursuant to a

4    formal reservation of rights letter on June 26, 2024. Defendant Staenberg was served with the

5    complaint in the Underlying Lawsuit on July 7, 2024.

6    B.     The Safeco Policy

7           4.8     Safeco issued Condominium Policy No. OH17433235 to named insured Jon

8    Staenberg effective August 1, 2022 through August 1, 2023 (“Safeco Policy”). The personal

9    liability section of the Safeco Policy provides in pertinent part as follows:

10                             SECTION II – LIABILITY COVERAGES

11          LIABILITY LOSSES WE COVER
            COVERAGE E — PERSONAL LIABILITY
12          If a claim is made or a suit is brought against any insured for damages because of
            bodily injury or property damage caused by an occurrence to which this coverage
13          applies, we will:
14          1.      pay up to our limit of liability for the damages for which the insured is
                    legally liable; and
15          2.      provide a defense at our expense by counsel of our choice even if the
                    allegations are groundless, false or fraudulent. We may investigate and
16                  settle any claim or suit that we decide is appropriate. Our duty to settle or
                    defend ends when the amount we pay for damages resulting from the
17                  occurrence equals our limit of liability.

18          LIABILITY LOSSES WE DO NOT COVER
            1.      Coverage E — Personal Liability and Coverage F — Medical Payments
19                  to Others do not apply to bodily injury or property damage:
                    a.      which:
20
                            (1)      is expected or intended by any insured or which is the
21                                   foreseeable result of an act or omission intended by any
                                     insured; or
22                          (2)      results from violation of:
23                                   (a)    criminal law; or

24                                                                                   SOHA & L ANG, P.S.
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1                                (b)    local or municipal ordinance
                         committed by, or with the knowledge or consent of any insured.
2
          This exclusion applies even if:
3                (3)     such insured lacks the mental capacity to form intent;

4                (4)     such bodily injury or property damage is of a different kind or
                         degree than expected or intended; or
5                (5)     such bodily injury or property damage is sustained by a different
                         person, or persons, than expected or intended.
6
          This exclusion applies whether or not any insured is charged or convicted of a
          violation of criminal law, or local or municipal ordinance
7
                                                 ***
8         i.     arising out of physical or mental abuse, sexual molestation or sexual
                 harassment
9
          2.     Coverage E — Personal Liability does not apply to:
10               a.      Liability:
11                       (2)     for punitive damages awarded against any insured;
                         (3)     arising out of any illegal act committed by or at the
12                               direction of any insured;

13        4.9    The Safeco Policy has the following pertinent definitions:

14                                     POLICY DEFINITIONS
          2.     “Bodily injury” means:
15
                 a.      bodily harm, sickness or disease, including required care, loss of
16                       services and death resulting therefrom
                 Bodily injury does not include any communicable disease transmitted by
17               any insured to any other person;
18               b.      personal injury:
                         (1)     arising out of one or more of the following offenses:
19
                                 (a)    false arrest, detention or imprisonment, or
20                                      malicious prosecution;
                                 (b)    libel, slander or defamation of character; or
21
                                 (c)    invasion of privacy, wrongful eviction or wrongful
                                        entry.
22
                         (2)     coverage does not include:
23

24                                                                             SOHA & L ANG, P.S.
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1                               (a)       liability assumed by any insured under any contract
                                          or agreement except any indemnity obligation
2                                         assumed by the insured under a written contract
                                          directly relating to the ownership, maintenance or
3                                         use of the insured location;
                                (b)       injury arising out of any illegal act committed by or
4                                         at the direction of any insured;
5                               (c)       injury sustained by any person as a result of an
                                          offense directly or indirectly related to the
6                                         employment of this person by any insured;
                                (d)       injury arising out of the business pursuits of any
7                                         insured. This exclusion does not apply to bodily
                                          injury to a residence employee arising out of and in
8                                         the course of the residence employee’s employment
                                          by any insured; or
9
                                (e)       injury arising out of civic or public activities
10                                        performed for pay by any insured; or
                                (f)       punitive damages awarded against any insured.
11
          7.     “Occurrence” means an accident, including exposure to conditions which
                 results in:
12
                 a.     bodily injury; or
13               b.     property damage;
14               during the policy period.
                 Repeated or continuous exposure to the same general conditions is
15               considered to be one occurrence.
16        8.     “Insured” means you and the following residents of your household:
                 a.     your relatives;
17
                 b.     any other person under the age of 21 who is in the care of any person
18                      named above.
                                                   ***
19
          10.    “Property damage” means physical damage to or destruction of tangible
                 property, including loss of use of this property.
20
                 Property damage does not include loss caused by any communicable
21               disease transmitted by any insured.
          11.    “Punitive damages” means damages which are awarded to punish or deter
22               wrongful conduct, to set an example, to fine, penalize or impose a statutory
                 penalty, and damages which are awarded for any purpose other than as
23               compensatory damages for bodily injury or property damage.
24                                                                               SOHA & L ANG, P.S.
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1                 V.        FIRST CAUSE OF ACTION – DECLARATORY RELIEF

2           5.1        Safeco incorporates by reference the allegations of all paragraphs above as if fully

3    alleged herein.

4           5.2        In accordance with 28 U.S.C § 2201, Safeco seeks a ruling from this Court that

5    the Safeco Policy does not provide coverage for the claims against Defendant Staenberg in the

6    Underlying Lawsuit.

7           5.3        An actual justiciable controversy exists between Safeco and Defendants

8    concerning whether there is insurance coverage under the Safeco Policy for the claims asserted

9    against Defendant Staenberg in the Underlying Lawsuit for one or more of the following reasons:

10                     a.     The claims in the Underlying Lawsuit do not allege “bodily injury” or

11   “property damage” under the Safeco Policy;

12                     b.     The claims in the Underlying Lawsuit do not allege an “occurrence” under
13   the Safeco Policy;
14
                       c.     Exclusion 1(a) in the Safeco Policy precludes coverage for the claims
15
     against Defendant Staenberg;
16
                       d.     Exclusion 1(i) in the Safeco Policy precludes coverage for the claims
17
     against Defendant Staenberg;
18

19                     e.     Exclusion 2(a)(3) in the Safeco Policy precludes coverage for the claims

20   against Defendant Staenberg;

21          5.4        In the event that the Court finds that the Safeco Policy provides coverage for

22   Defendant Staenberg for the claims in the Underlying Lawsuit, Exclusion 2(a)(2) in the Safeco

23   Policy precludes coverage for any award of punitive damages.

24                                                                                   SOHA & L ANG, P.S.
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1           5.5     In the event that the Court finds that the Safeco Policy provides coverage for

2    Defendant Staenberg for the claims in the Underlying Lawsuit, coverage afforded under the

3    Safeco Policy is subject to a limit of $500,000 per occurrence.

4           5.6     Coverage is limited or precluded under such further policy language or other

5    grounds that may restrict or preclude coverage under the Safeco Policy.

6                         VI.     RESERVATION OF RIGHT TO AMEND

7           6.1     Safeco reserves the right to amend its complaint, in whole or in part, as it obtains

8    additional facts through investigation and discovery.

9                                   VII.    PRAYER FOR RELIEF

10          Plaintiff Safeco prays for the following relief:

11          1.      For a declaratory judgment in its favor stating that:

12                  a.     The Safeco Policy does not provide coverage for the claims asserted

13   against Defendant Staenberg in the Underlying Lawsuit;

14                  b.     Safeco has no duty to defend Defendant Staenberg under the Safeco Policy

15   against the claims alleged in the Underlying Lawsuit;

16                  c.     Safeco has no duty to indemnify Defendant Staenberg under the Safeco

17   Policy in connection with any settlement entered into or judgment entered against Defendant

18   Staenberg with respect to the claims alleged in the Underlying Lawsuit;

19                  d.     Safeco is entitled to immediately withdraw its defense of Defendant

20   Staenberg in the Underlying Lawsuit;

21                  e.     For attorney’s fees and costs to the extent permitted by law; and

22                  f.     For such other and further relief as this court may deem just and equitable.

23                  DATED this 14th day of August, 2024.

24                                                                                SOHA & L ANG, P.S.
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24                                                                        SOHA & L ANG, P.S.
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